 Case 2:17-cv-00689-DBP Document 55 Filed 09/21/18 PageID.1939 Page 1 of 2




THE ORD FIRM, P.C.
James K. Ord, III (USB 14007)
PO Box 16688
Salt Lake City, UT 84116
Telephone: (801) 997-0442
Email: james@UtahADALaw.com
Attorney for Plaintiff

                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 Trevor Kelley,                                    Case No.: 2:17-cv-00689-DBP

                  Plaintiff,
                                                   STIPULATION FOR DISMISSAL WITH
 v.
                                                             PREJUDICE

 Chipotle Mexican Grill
 d.b.a. Chipotle Mexican Grill,                    Assigned to Magistrate Judge Dustin B. Pead

                  Defendant.


       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

Plaintiff, Trevor Kelley and Defendant, Chipotle Mexican Grill, hereby stipulate that the above-

entitled action be dismissed with prejudice, with each side to bear its own fees’ and costs.


       RESPECTFULLY submitted on this 21st day of September 2018.



  /s/ James K. Ord, III                           /s/ Kathleen J. Mowry (with permission)
  JAMES K. ORD, III, ESQ.                         Kathleen J. Mowry
  P.O. Box 16688                                  MESSNER REEVES LLP
  Salt Lake City, UT 84116                        1430 WYNKOOP ST STE 300
  Telephone: (435) 214-1433                       DENVER, CO 80202
  Telephone: (801) 997-0442                       (303) 623-1800
  Email: james@utahADAlaw.com                     Email: kmowry@messner.com
  Attorney for Plaintiff                          Attorney for Defendant
  Case 2:17-cv-00689-DBP Document 55 Filed 09/21/18 PageID.1940 Page 2 of 2




                                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of September 2018, I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and transmittal of
a Notice of Electronic filing to be served upon all e-filing counsel of record as follows:


Byron L. Ames
AMES & AMES LLP
228 W 200 S STE 2B
KAMAS, UT 84036
(435) 214-0303
Email: bames@amesfirm.com
Attorney for Defendant

Kathleen J. Mowry
MESSNER REEVES LLP
1430 WYNKOOP ST STE 300
DENVER, CO 80202
(303) 623-1800
Email: kmowry@messner.com
Attorney for Defendant




/s/ Lisa Stamper*
(* I certify that I have the signed original of this document
which is available for inspection during normal business
hours by the Court or a party to this action)




                                                                2
